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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 NORTHERN DIVISION
                                    AT COVINGTON

 CRIMINAL CASE NO: 23-28-DLB-CJS-02                   JUDGE BUNNING

 UNITED STATES OF AMERICA,
      Plaintiff,

                vs.                                   ELECTRONICALLY FILED


 DENICO N. HUDSON,
      Defendant.

                NOTICE OF FILING OF DOCUMENTS (CHARACTER LETTERS)

        Now comes DENICO H. HUDSON, a defendant in the above-captioned case, by and

 through counsel, and gives Notice of Filing and submits the attached Character Letters for the

 Courts review. Two letters are attached from Kamya Thomas and Kwame Lewis.




                                                      /s/ Kerry L. Neff__
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                                                      Attorney for Mr. Denico N. Hudson



                                        CERTIFICATION

        I hereby certify that a true copy of this document will be served on this the 22nd day of
 July 2024 via electronic filing/mail, to all attorneys of record.

                                                      /s/ Kerry L Neff_________
                                                      KERRY L. NEFF
